   EXHIBIT C

Engagement Letter
                                                                                              Confidential

August 9, 2023


Mr. Han Kieftenbeld
Interim Chief Executive Officer
Amyris, Inc.
5885 Hollis St.
Emeryville, CA 94608

Re: Retention of Chief Restructuring Officer

Dear Mr. Kieftenbeld:

This letter agreement (this “Agreement”), entered as of August 9, 2023, confirms the terms of the agreement
among Ankura Consulting Group, LLC (“Ankura”) and Amyris, Inc. collectively with its subsidiaries (the
“Company” or “Amyris”) pursuant to which Ankura has been engaged to act as the Chief Restructuring
Officer to Company providing services as set forth below. On August 9, 2023, the Company filed chapter
11 proceedings in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)
at case No. 23-11131 (TMH).
We have been retained by the Amyris and will report to the Restructuring Committee of the Company’s
Board of Directors.

1. Scope of Engagement: On the terms and subject to the conditions of this Agreement, Ankura will
provide to the Company the following services (the “Services”) as requested by the Company and agreed
to by Ankura:

     A. Provide Philip J. Gund to serve as Chief Restructuring Officer of the Company (“CRO”).

In the event there is a disagreement as to any direction, guidance, or instruction to be given to Ankura in
connection with the foregoing Services, Ankura shall take such direction, guidance, or instruction from the
Restructuring Committee of the Board of Directors of Amyris, Inc.


As part of the Services, Ankura may be requested to assist the Company (and its legal or other advisors) in
negotiating with the Company’s creditors and equity holders and with other interested parties. In the event
that we participate in such negotiations, the representations made and the positions advanced will be those
of the Company and its management, not Ankura or its employees.


It is our intention to work closely with you and management throughout the course of our engagement.
Regular discussions with you regarding our progress should provide you with an opportunity to confirm or
request that we modify the scope of our engagement to best serve your needs. The Services and
compensation arrangements set forth herein do not encompass other advisory services not set forth in this



Form of Interim Officer Engagement Letter v6.01
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                Confidential

Section 1. If the Company and Ankura later determine to expand the scope of Services to include other
services not otherwise set forth herein, such future agreement will be the subject of a further and separate
written agreement of the parties.

Notwithstanding anything to the contrary in this Agreement, the Company agrees that the CRO shall be
authorized, in such capacity, to make decisions with respect to all aspects of the management and operations
of the Company’s business, including, without limitation, organization, human resources, marketing, sales,
operations, supply chain, finance, administration and other such areas as the CRO may identify, in such
manner, as the CRO deems appropriate, subject only to appropriate governance by the Strategic Committee
in accordance with the Company’s by-laws and applicable laws.


2. Fees and Expenses: For Ankura’s Services hereunder, the Company agrees to pay to Ankura the
following non-refundable Monthly Fee and Additional Fee, collectively the CRO Fee (the “CRO Fee”):

    A. Monthly Fee: A monthly fee for the CRO in the amount of $135,000, payable in advance on the
       first business day of each month. If Ankura is retained mid-month, the initial Monthly Fee will be
       prorated for the period retained.

    B. Additional Fee: The CRO will be entitled to an additional fee as follows:


        i) $650,000 upon the filing and confirmation of a Plan of Reorganization, or
        ii) $325,000 to the extent that the assets are sold through a 363 sale during the pendency of the
            bankruptcy case of the Company.
            Any Additional Fee shall be the subject of a fee application and shall be approved by
            Bankruptcy Court prior to payment.

    C. Expense Reimbursement: Ankura shall be entitled to reimbursement of reasonable out-of-pocket
       and direct expenses incurred in connection with the Services to be provided under this Agreement
       (including for Ankura’s reasonable out-of-pocket fees and expenses for outside legal counsel and
       other third-party advisors) incurred in connection with this Agreement, including the negotiation
       and performance of this Agreement and the matters contemplated hereby (collectively,
       “Expenses”).

    D. Reasonableness of Fees: The Company acknowledges that it believes that Ankura’s general
       restructuring experience and expertise will inure to the benefit of the parties hereto, that the value
       to the parties hereto of Ankura’s Services derives in substantial part from that experience and
       expertise and that, accordingly, the structure and amount of the Fees to be paid to Ankura hereunder
       are reasonable. The Company acknowledges that a substantial professional commitment of time
       and effort will be required of Ankura and its professionals hereunder, and that such commitment
       may foreclose other opportunities for Ankura. Given the numerous issues that may arise in
       engagements such as this, Ankura’s commitment to the variable level of time and effort necessary
       to address such issues, the expertise and capabilities of Ankura that will be required in this


                                                                                                  2
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                 Confidential

        engagement, and the market rate for Ankura’s services of this nature, whether in-court or out-of-
        court, the parties agree that the fee arrangement provided for herein is reasonable, fairly
        compensates Ankura, and provides the requisite certainty to the parties hereto.

    E. Testimony; Subpoena Requests. If Ankura is requested or required to appear as a witness in any
       action that is brought by, on behalf of, or against you or that otherwise relates to this Agreement or
       the Services rendered by Ankura hereunder, you agree to (i) compensate Ankura for its associated
       time charges at our regular rates in effect at the time and (ii) reimburse Ankura for all documented,
       actual out-of-pocket expenses incurred by Ankura in connection with such appearance or preparing
       to appear as a witness, including without limitation, the fees and disbursements of legal counsel of
       Ankura’s choosing. In addition, Ankura will be compensated and reimbursed for any time and
       expense (including without limitation, fees and expenses of legal counsel of Ankura’s choosing)
       that Ankura may incur in considering or responding to discovery requests or other formal
       information requests for documents or information made in connection with any action or in
       connection with the Services.

3. Retainer

    A. In connection with the foregoing, it is Ankura’s policy to receive an advance retainer for the Fees
       and Expenses. Upon execution of this Agreement, the Company shall provide Ankura with such
       retainer in the amount of $150,000 (the “Retainer”) and the Company agrees to replenish the
       Retainer upon the request of Ankura. The Company understands and acknowledges that any
       Retainer becomes the property of Ankura when it is earned and the Company no longer has a
       property interest in any Retainer upon Ankura’s earning of the Retainer, any Retainer will be placed
       in Ankura’s general account and will not be held in a client trust account, and the Company will
       not earn any interest on any Retainer; provided, however, that at the conclusion of the Services, if
       the amount of any Retainer held by Ankura is in excess of the amount of Ankura’s outstanding and
       estimated Fees and Expenses, any such excess Retainer amount will be returned to the Company.


4. Invoices and Payment: The obligations of the Company under this Agreement shall be joint and several
obligations. The payment of the Fees and Expenses hereunder are the exclusive obligations of the Company.
Prior to commencing any proceedings under any insolvency regime, the Company shall pay all invoiced
amounts, whether for Fees or Expenses or otherwise, to Ankura by wire transfer of immediately available
funds. In the event that the Company does not pay Ankura’s invoices in accordance with their terms,
Ankura has the discretion to (i) terminate or suspend the engagement and the performance of Services, and
(ii) deduct any outstanding amounts owed from monies held on the Company’s behalf. Under these
circumstances, the Company will also be responsible for any costs, including legal fees, associated with the
collection of outstanding and overdue fees and expenses. Company agrees that it will pay the full amount
of any invoices regardless of any deduction that it is required by law to make, and it will be responsible for
any taxes, if required, that are due in relation to Ankura’s goods and Services. Company is responsible for




                                                                                                   3
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                 Confidential

paying any local, state or federal sales, use or ad valorem tax that might be assessed on the Services. Ankura
will pay any local, state or federal income taxes due and payable by Ankura relating to the Services.

5. Term of Agreement: If either party hereto desires to terminate its relationship with the other or the
engagement, it may do so at any time for any reason by giving written notice to the other party. In such
event, Ankura will be paid for fees and expenses incurred through the termination date, as well as for
reasonable engagement closing costs.

6. Nature of Services; Use of Advice:
    A. The Services, including the deliverables and reports, are provided solely for your use for the
       purposes set forth herein. You may not disclose or discuss the Services or any deliverable or report
       or make the benefit of the Services available to anyone else or refer to the contents of a deliverable
       or report or the findings of our work except (i) as specifically stated herein, (ii) with our prior
       written consent on terms to be agreed in writing, or (iii) where required by law or regulation. The
       Services and all deliverables are not for a third party’s use, benefit or reliance and Ankura disclaims
       any contractual or other responsibility or duty of care to any third party based upon the Services or
       deliverables. Client will indemnify and hold Ankura harmless from any and all claims asserted by
       a third party as a result of such unauthorized release of any deliverables or reliance on the Services.
       Nothing in this Agreement, express or implied, is intended to confer or does confer on any person
       or entity, other than the parties hereto, the Indemnified Persons (as such term is defined in Schedule
       I) and each of their respective successors, heirs and assigns, any rights or remedies under or by
       reason of this Agreement or as a result of the services to be rendered by Ankura hereunder.
    B. At the direction of legal counsel, certain communications and correspondence between Ankura and
       reports and analyses prepared by Ankura, in connection with this Agreement and the matters
       contemplated hereby, will be considered in preparation for litigation, and accordingly, will be
       subject to the attorney-client privilege and work-product privilege between Ankura and the
       Company.
    C. The Services and any deliverables, including any oral advice or comments, should not be associated
       with, referred to or quoted in any manner in any financial statements or any offering memorandum,
       prospectus, registration statement, public filing, loan or other agreements.

7. Intellectual Property:
Ankura owns the intellectual property rights in the deliverables and reports and any materials created under
this Agreement. Ankura agrees that upon payment in full for the Services, you will have a non-exclusive,
non-transferable license to use the deliverables for your own internal use in accordance with the terms of
this Agreement. Notwithstanding the foregoing, (i) any patent, copyright, trademark and other intellectual
property rights of Ankura contained in any deliverable or report shall remain the sole and exclusive property
of Ankura, and (ii) all methodologies, processes, techniques, ideas, concepts, trade secrets and know-how
and other intellectual property embedded in the deliverable or reports that we may develop or supply in
connection with our Services shall remain the sole and exclusive property of Ankura.




                                                                                                   4
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                 Confidential

8. Court Approval:
The Company will use its best efforts to seek Bankruptcy Court approval of this engagement and to ensure
that the court authorizes the Company to continue to honor its obligations under this Agreement, including
all indemnification obligations hereunder and payment by the Company of all Fees and Expenses in
accordance with the terms hereunder (including Ankura’s counsel’s fees and expenses) and approves this
Agreement, nunc pro tunc to the date the insolvency proceeding was commenced.


9. Confidentiality:
   A. Generally. In connection with this engagement, either party (the “Receiving Party”) may come
      into the possession, whether orally or in writing, of Confidential Information (as defined below) of
      the other party (the “Disclosing Party”). The Receiving Party hereby agrees that it will not disclose,
      publish or distribute such Confidential Information to any third party without the Disclosing Party’s
      consent, which consent shall not be unreasonably withheld, other than (i) to the Receiving Party’s
      affiliates and its and their employees, officers, directors, auditors, and advisors; (ii) if such
      disclosure is requested or required by a governmental agency having regulatory authority or other
      authority over the Receiving Party; (iii) pursuant to court order, subpoena or legal process requiring
      disclosure, provided that Receiving Party shall use its best efforts to promptly give Disclosing Party
      written prior notice (if legally permissible) of any disclosure under this clause (iii) so that
      Disclosing Party can seek a protective order; or (iv) to tax advisors regarding the tax treatment or
      tax structure of any transaction; provided that such advisors are informed of the confidential
      obligations hereunder.

    B. Definition of Confidential Information. “Confidential Information” means any and all non-public,
       confidential or proprietary knowledge, data, or information of or concerning the Disclosing Party.
       For the avoidance of doubt, Confidential Information includes without limitation, research,
       analyses, names, business plans, valuations, databases and management systems. Confidential
       Information shall not include information that: (i) was publicly known and made generally
       available in the public domain prior to the time of disclosure; (ii) is already in the lawful possession
       of the Receiving Party at the time of disclosure; (iii) is lawfully obtained from a third party lawfully
       in possession of such information and without a breach of such third party’s obligations of
       confidentiality; or (iv) is independently developed without use of or reference to any Confidential
       Information.

10. Company Access and Information:
In order to fulfill the Services under this Agreement, it will be necessary for Ankura personnel to have
access to the Company’s facilities and certain books, records and reports of the Company. In addition,
Ankura will need to have discussions with the Company’s management and certain other personnel. Ankura
will perform the Services in a manner that will permit the business operations of the Company to proceed
in an orderly fashion, subject to the requirements of this engagement. We understand that the Company has
agreed it will furnish Ankura with such information as Ankura believes appropriate to its assignment (all
such information so furnished being the “Information”). The Company recognizes and confirms that
Ankura (i) will use and rely on the accuracy and completeness of the Information and on Information


                                                                                                    5
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                  Confidential

available from generally recognized public sources without independently verifying the same, (ii) does not
assume responsibility for the accuracy, completeness or reasonableness of the Information and such other
Information, and (iii) will not make an appraisal of any assets or liabilities (contingent or otherwise) of the
Company. The Company shall advise Ankura promptly upon obtaining any actual knowledge of the
occurrence of any event or any other change in fact or circumstance upon which Ankura formed part or all
of its opinions, advice, or conclusions, or which could reasonably be expected to result in some or all of the
Information being incorrect, inaccurate, or misleading. To the best of the Company’s knowledge, the
Information to be furnished by or on behalf of the Company, when delivered, will be true and correct in all
material respects and will not contain any material misstatement of fact or omit to state any material fact
necessary to make the statements contained therein not misleading.
11. Indemnification; Limitation of Liability: The Company shall provide indemnification, contribution and
reimbursement as set forth in Schedule I hereto. The terms and provisions of Schedule I are an integral part
hereof, are hereby incorporated by reference, are subject in all respects to the provisions hereof and shall
survive any termination or expiration of this Agreement. Further, if an Indemnified Person (as defined in
Schedule I) is requested or required to appear as a witness in any Action (as defined in Schedule I) that is
brought by or on behalf of or against the Company or that otherwise relates to this Agreement or the
Services rendered by Ankura hereunder, the Company shall, jointly and severally, reimburse Ankura and
the Indemnified Person for all documented, actual out-of-pocket expenses incurred by them in connection
with such Indemnified Person appearing or preparing to appear as such a witness, including without
limitation, the fees and disbursements of legal counsel. Neither the Client nor any other party acting on
their behalf shall hold Ankura liable for any matter in connection with the engagement or the Agreement,
absent gross negligence, willful misconduct or bad faith, in each case as finally determined by a judgment
of a court of competent jurisdiction. In no event shall Ankura be liable (i) under this Agreement or in
connection with the Services or this engagement for damages in excess of the total amount of Fees collected;
(ii) for loss or corruption of data from the Client’s systems; or (iii) for any claim whatsoever for any loss of
profit, goodwill, business opportunity, anticipated savings or benefits, special, consequential, exemplary,
incidental, punitive or indirect damages of any kind.

12. Entire Agreement; Amendments: This Agreement represents the entire agreement between the parties
in relation to the Services, supersedes all previous agreements relating to the subject matter hereof (should
they exist) and may not be modified or amended except in writing signed by all of the parties hereto.

13. Counterparts: This Agreement may be executed in counterparts (and by facsimile or other electronic
means), each of which shall constitute an original and all of which together will be deemed to be one and
the same document.


14. Severability: The invalidity or unenforceability of any provision of this Agreement shall not affect the
validity or enforceability of any other provision.

15. Announcements: Ankura shall be entitled to identify the Company and use the Company’s name and
logo in connection with marketing and pitch materials upon conclusion of the Services. In addition, if
requested by Ankura, the Company agrees that in any press release related to the Services or outcome of


                                                                                                     6
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                         Confidential

the Services provided hereunder, the Company will include in such press release a mutually acceptable
reference to Ankura’s role as CRO to the Company.

16. Governing Law; Jury Trial Waiver; Jurisdiction: THIS AGREEMENT WILL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
APPLICABLE TO AGREEMENTS MADE AND TO BE PERFORMED ENTIRELY IN SUCH STATE.
ANKURA AND THE COMPANY KNOWINGLY, VOLUNTARILY AND IRREVOCABLY WAIVE
ANY RIGHT TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
(WHETHER BASED UPON CONTRACT, TORT OR OTHERWISE) RELATED TO OR ARISING OUT
OF OR IN CONNECTION WITH THE ENGAGEMENT OF ANKURA PURSUANT TO, OR THE
PERFORMANCE BY ANKURA OF THE SERVICES CONTEMPLATED BY, THIS AGREEMENT.
REGARDLESS OF ANY PRESENT OR FUTURE DOMICILE OR PRINCIPAL PLACE OF BUSINESS
OF THE PARTIES HERETO, EACH PARTY HEREBY IRREVOCABLY CONSENTS AND AGREES
THAT ANY CLAIMS OR DISPUTES BETWEEN OR AMONG THE PARTIES HERETO ARISING
OUT OF OR RELATED TO THIS AGREEMENT SHALL BE BROUGHT AND MAINTAINED
EXCLUSIVELY IN ANY FEDERAL COURT OF COMPETENT JURISDICTION SITTING IN THE
SOUTHERN DISTRICT OF NEW YORK, NEW YORK OR, IF SUCH COURTS DO NOT HAVE
JURISDICTION, THEN THE COMMERCIAL DIVISION OF THE STATE COURTS SITTING IN THE
COUNTY OF NEW YORK IN THE STATE OF NEW YORK, WHICH COURTS SHALL HAVE
EXCLUSIVE JURISDICTION OVER THE ADJUDICATION OF SUCH MATTERS; PROVIDED
HOWEVER, THAT IF ANY ENTITY COMPRISING THE COMPANY BECOMES A DEBTOR
UNDER CHAPTER 11 OF THE BANKRUPTCY CODE, AND IF A COMPANY ENTITY IS A PARTY
TO SUCH DISPUTE WITH RESPECT TO THIS AGREEMENT, ANKURA AND THE COMPANY
IRREVOCABLY AGREE TO SUBMIT TO THE EXCLUSIVE JURISDICTION AND FORUM OF THE
BANKRUPTCY COURT IN WHICH SUCH CHAPTER 11 CASE IS PENDING. BY EXECUTION AND
DELIVERY OF THIS AGREEMENT, EACH PARTY HERETO FURTHER IRREVOCABLY
SUBMITS AND CONSENTS IN ADVANCE TO SUCH JURISDICTION IN ANY ACTION OR SUIT
COMMENCED IN ANY SUCH COURT, AND HEREBY WAIVES IN ALL RESPECTS ANY CLAIM
OR OBJECTION THAT IT MAY HAVE BASED UPON LACK OF PERSONAL JURISDICTION,
IMPROPER VENUE OR FORUM NON-CONVENIENS. EACH PARTY HERETO AGREES THAT A
FINAL NON-APPEALABLE JUDGMENT IN ANY SUCH ACTION BROUGHT IN ANY SUCH
COURT SHALL BE CONCLUSIVE AND BINDING UPON IT AND MAY BE ENFORCED IN ANY
OTHER COURT(S) HAVING JURISDICTION OVER IT BY SUIT UPON SUCH JUDGMENT. EACH
PARTY HERETO IRREVOCABLY CONSENTS TO SERVICE OF PROCESS IN ALL SUCH
DISPUTES BY THE MAILING OF COPIES OF SUCH PROCESS TO THE NOTICE ADDRESS FOR
EACH SUCH PERSON AS SET FORTH IN THIS AGREEMENT. EACH OF THE PARTIES HERETO
HEREBY CERTIFIES THAT NO REPRESENTATIVE OR AGENT OF ANY OTHER PARTY HERETO
HAS REPRESENTED EXPRESSLY OR OTHERWISE THAT SUCH PARTY WOULD NOT SEEK TO
ENFORCE THE PROVISIONS OF THIS WAIVER. EACH OF THE PARTIES HERETO HEREBY
ACKNOWLEDGES THAT IT HAS BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY AND
IN RELIANCE UPON, AMONG OTHER THINGS, THE PROVISIONS OF THIS SECTION.




                                                                                           7
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                  Confidential

17. Notices: Notice given pursuant to any of the provisions of this Agreement shall be in writing and shall
be mailed or delivered (including via email so long as the recipient acknowledges receipt) at the address set
forth in the signature blocks of each such person below. Notices shall be deemed provided on the date sent.

18. Miscellaneous:
    (a) Conflicts:

           i. Ankura is involved in a wide range of other activities from which conflicting interests, or
              duties, may arise. We have undertaken an inquiry of our records in accordance with our
              standard business practices based on the parties identified to us and have determined that we
              may proceed. Due to the diversity of Ankura’s experts and advisory services, Ankura cannot
              be certain all relationships have or will come to light. Should an actual conflict come to the
              attention of Ankura during the course of this engagement, we will notify you and take
              appropriate actions, as necessary. The Company represents and warrants that it has informed
              Ankura of the parties-in-interest to this matter and agrees that it will inform Ankura of
              additions to, or name changes for, those parties-in-interest. Ankura is not restricted from
              working on other engagements involving the parties in this matter; however, during the
              course of this engagement, services of the nature described in this Agreement that are directly
              adverse to the Company shall not be provided by personnel working on this engagement
              without prior written consent of the Company.

           ii. The Company acknowledges that Ankura and its affiliates may have provided professional
               services to, may currently provide professional services to, or may in the future provide such
               services to other parties-in-interest. The Company agrees that Ankura, its affiliates,
               subsidiaries, subcontractors and their respective personnel will have no responsibility to the
               Company in relation to such professional services, nor any responsibility to use or disclose
               information Ankura possesses by reason of such services, whether or not such information
               might be considered material to the Company. Information which is held elsewhere within
               Ankura but is not publicly available will not for any purpose be taken into account in
               determining Ankura’s responsibilities to the Company under this engagement. Ankura will
               not have any duty to disclose to the Company or any other party or utilize for the benefit of
               any such party’s or any other party any non-public information, or the fact that Ankura is in
               possession of such information, acquired in the course of providing services to any other
               person, engaging in any transaction (on its own account or otherwise) or otherwise carrying
               on its business.

    (b) Exculpation: You agree not to bring any claim against a direct or indirect holder of any equity
        interests or securities of Ankura whether such holder is a limited or general partner, member,
        stockholder or otherwise, affiliate of Ankura, or director, officer, employee, representative, or agent
        of Ankura, or of an affiliate of Ankura or of any such direct or indirect holder of any equity interests
        or securities of Ankura (collectively, the “Party Affiliates”). You further agree that no Party
        Affiliate shall have any liability or obligation of any nature whatsoever in connection with or under



                                                                                                     8
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                 Confidential

        this Agreement or the Services contemplated thereby, and you waive and release all claims against
        such Party Affiliates related to any such liability or obligation.

    (c) Authority; Due Authorization; Enforceability: The Company represents and warrants that the
        Board has duly approved the retention of Ankura and approved the terms of this Agreement,
        including the appointment and authorization of the CRO. Each party hereto represents and warrants
        that it has all requisite power and authority to enter into this Agreement and to perform its
        obligations hereunder. Each party hereto further represents and warrants that this Agreement has
        been duly and validly authorized by all necessary corporate action and has been duly executed and
        delivered by each such party and constitutes the legal, valid and binding agreement of each such
        party, enforceable in accordance with its terms.

    (d) Independent Contractors: In connection with the Services, Ankura may utilize employees, agents
        or independent contractors or its own affiliates (each of which is a separate and independent legal
        entity) or its own agents or independent contractors. References in this Agreement to Ankura
        personnel shall apply equally to employees, agents or independent contractors of Ankura and its
        affiliates. Ankura shall act as an independent contractor under this Agreement, and not in any other
        capacity including as a fiduciary, and any obligations arising out of its engagement shall be owed
        solely to you. As an independent contractor, Ankura will have complete and exclusive charge of
        the management and operations of its business, including hiring and paying the wages and other
        compensation of all its employees and agents, and paying all bills, expenses and other charges
        incurred or payable with respect to the operations of its business. Ankura will remain solely
        responsible for the Services.

    (e) Limitations of Engagement: The Company acknowledges that Ankura is being retained solely to
        assist the Company as described in this Agreement. The Company agrees that it will be solely
        responsible implementing any advice or recommendations and for ensuring that any such
        implementation complies with applicable law. The Company understands that Ankura is not
        undertaking to provide any legal, regulatory, accounting, insurance, tax or other similar
        professional advice and the Company confirms that it is relying on its own counsel, accountants
        and similar advisors for such advice. This engagement shall not constitute an audit or review, or
        any other type of financial statement reporting engagement. It is expressly agreed that, other than
        as set forth in this Agreement, Ankura will not evaluate or attest to the Company’s internal controls,
        financial reporting, illegal acts or disclosure deficiencies and Ankura shall be under no obligation
        to provide formal fairness or solvency opinions with respect to any bankruptcy case or otherwise,
        or any transaction contemplated thereby or incidental thereto. In rendering its Services pursuant to
        this Agreement, and notwithstanding anything to the contrary herein, Ankura is not assuming any
        responsibility for any decision to pursue (or not to pursue) any business strategy or to effect (or not
        to effect) any transaction. Ankura shall not have any obligation or responsibility to provide legal,
        regulatory, accounting, tax, audit, “crisis management” or business consultant advice or services
        hereunder and shall have no responsibility for designing or implementing operating, organizational,
        administrative, cash management or liquidity improvements.



                                                                                                    9
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                Confidential

    (f) Counsel Representation: The terms of this Agreement have been negotiated by the parties hereto,
        who have each been represented by counsel. There shall be no presumption that any of the
        provisions of this Agreement shall be construed adverse to any party as “drafter” in the event of a
        contention of ambiguity in this Agreement, and the parties waive any statute or rule of law to such
        effect.

    (g) Assignment: This Agreement may not be assigned by any party hereto without the prior written
        consent of the other parties. Any attempted assignment of this Agreement made without such
        consent shall be void and of no effect, at the option of the non-assigning parties. Notwithstanding
        the foregoing, Ankura may assign or novate this Agreement to a transferee of all or part of its
        business upon written notice. Ankura may also transfer or deal with our rights in any unpaid invoice
        without notice.

    (h) Headings: Headings used herein are for convenience of reference only and shall not affect the
        interpretation or construction of this Agreement.

    (i) Survival: Those provisions that by their nature are intended to survive termination or expiration of
        this Agreement and any right or obligation of the parties in this Agreement which, by its express
        terms of nature and context is intended to survive termination or expiration of this Agreement, shall
        so survive any such termination or expiration. For the avoidance of doubt, upon any termination of
        this Agreement, Sections 2-12 and 14-18 shall survive such termination and shall remain in effect.
        Notwithstanding the foregoing, the obligations under Section 9 shall survive for two (2) years after
        termination of this Agreement.

    (j) Force Majeure: Ankura shall not be liable for any delays or nonperformance directly or indirectly
        resulting from circumstances or causes beyond its reasonable control, including but not limited to,
        fire, epidemic or other casualty, act of God, strike or labor dispute, war or other violence, or any
        law, order or requirement of any governmental agency or authority.

    (k) Non-Solicitation: The Client will not, during the term of the engagement or for twelve (12) months
        thereafter, solicit (directly or indirectly) any employee of Ankura or attempt to induce or cooperate
        with any other firm in an attempt to induce any employee to leave the employ of Ankura. In the
        event that an employee of Ankura is hired by the Client during the above-mentioned period, the
        Client agrees to pay to Ankura, no later than ten (10) days after the employees accepts a position
        with the Client, an amount equal to one hundred percent (100%) of the employee’s annualized
        compensation; provided that the foregoing shall not be violated by general advertising not targeted
        at Ankura employees.

    (l) Insurance: The Company shall maintain directors, officers and corporate liability insurance policy
        (the “Policy”), with at least $10.0 million in coverage to cover the CRO in addition to the existing
        officers and directors serving in such positions. The Company shall cause its insurance broker to
        send copies of all documentation and other communications regarding the Policy, including without
        limitation any renewal or cancellation thereof to the attention of the CRO. Upon any cancellation


                                                                                                 10
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                 Confidential

        or nonrenewal of the Policy by the insurer, the Company shall exercise their rights to extend the
        claim period to a six-year “discovery period” and shall exercise such rights and pay the premium
        required thereunder.

    (m) Money Laundering. Ankura may, in addition to making searches of appropriate databases, request
        from you, your affiliates or your advisors, certain information and documentation for the purposes
        of verifying your identity in order to comply with our obligations under applicable money-
        laundering regulation, legislation and our internal policies. When you are acting on behalf of a
        third-party client, we may request from you, copies of any documentation you have obtained in
        relation to your client. If satisfactory evidence of identity is not provided within a reasonable time,
        it may be necessary for us to cease work. Where we believe that there are circumstances which may
        give rise to a money laundering offence under applicable legislation, we may consider it necessary
        to make a report to the appropriate authorities. We may not be able to discuss such reports with you
        and we will not be liable to you for any loss or damage which you may suffer or incur as a result
        of our making such a report, including, without limitation, as a result of any delay to any stage of
        a matter or as a result of completion being prohibited by such authorities.


If the foregoing correctly sets forth our understanding, please indicate your acceptance thereof in the space
provided below, whereupon this Agreement and your acceptance shall constitute a binding agreement
between us.

If you have any questions, please call me at Philip J. Gund. We look forward to working with you on this
matter.


Ankura Consulting Group, LLC
By: /s/ Philip J. Gund
Name: Philip J. Gund
Title: Senior Managing Director
Email: Philip.Gund@ankura.com
Address: 485 Lexington Avenue, 10th Floor
New York, NY 10017
With a copy to
485 Lexington Avenue, 10th Floor
New York, NY 10017
Attn.: General Counsel




Accepted and agreed:




                                                                                                   11
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                 Confidential



COMPANY:
Amyris, Inc., et al.
By: /s/ Han Kieftenbeld
Name: Han Kieftenbeld
Title: Interim CEO and Chief Financial Officer
Address: 5885 Hollis St.
Emeryville, CA 94608

E-mail:kieftenbeld@amyris.com
Date: August 24, 2023




                                                  12
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                 Confidential

                                                 Schedule I

       This Schedule I is a part of and incorporated into the Agreement, dated as of August 9, 2023
between Ankura and the Company pursuant to which Ankura has been engaged to Services as set forth in
the Agreement. Capitalized terms not defined herein shall have the same meaning assigned in the
Agreement.

         As a material part of the consideration for the agreement of Ankura to furnish its Services under
the Agreement, the Company, jointly and severally, agrees that it shall indemnify and hold harmless Ankura
and its affiliates and their respective directors, officers, employees, attorneys and other agents appointed by
any of the foregoing and each other person, if any, controlling Ankura or any of its affiliates (Ankura and
each such person and entity being referred to as an “Indemnified Person”), from and against any losses,
claims, damages, judgments, assessments, costs and other liabilities (collectively, “Liabilities”), and will
reimburse each Indemnified Person for all reasonable fees and expenses (including the reasonable fees and
expenses of counsel) (collectively, “Indemnified Expenses”) as they are incurred in investigating,
preparing, pursuing or defending any claim, action, proceeding or investigation, whether or not in
connection with pending or threatened litigation and whether or not any Indemnified Person is a party
(collectively, “Actions”), in each case, related to or arising out of or in connection with the Services
rendered or to be rendered by an Indemnified Person pursuant to the Agreement or any Indemnified
Persons’ actions or inactions in connection with any such Services; provided that the Company will not be
responsible for any Liabilities or Indemnified Expenses of any Indemnified Person that are determined by
a judgment of a court of competent jurisdiction, which judgment is no longer subject to appeal or further
review, to have resulted primarily from such Indemnified Person’s gross negligence or willful misconduct
in connection with any of the Services. The Company shall also reimburse such Indemnified Person for all
Indemnified Expenses as they are incurred in connection with enforcing such Indemnified Persons' rights
under the Agreement (including without limitation its rights under this Schedule I). Such Indemnified
Person shall reasonably cooperate with the defense of any Actions.

         The Company shall, if requested by Ankura, assume the defense of any such Action including the
employment of counsel reasonably satisfactory to Ankura. The Company will not, without prior written
consent of Ankura (which shall not be unreasonably withheld), settle, compromise or consent to the entry
of any judgment in or otherwise seek to terminate any pending or threatened Action in respect of which
indemnification or contribution may be sought hereunder (whether or not any Indemnified Person is a party
thereto) unless such settlement, compromise, consent or termination (i) includes an unconditional release
of such Indemnified Person from all Liabilities arising out of such Action and (ii) does not include any
admission or assumption of fault or culpability on the part of any Indemnified Person.

         In the event that the foregoing indemnity is not available, for any reason, to an Indemnified Person
in accordance with the Agreement, the Company shall contribute to the Liabilities and Indemnified
Expenses paid or payable by such Indemnified Person in such proportion as is appropriate to reflect (i) the
relative benefits to the Company, on the one hand, and to Ankura, on the other hand, of the matters
contemplated by the Agreement, or (ii) if the allocation provided by the immediately preceding clause (i)
is not permitted by applicable law, not only such relative benefits but also the relative fault of the Company,


                                                                                                   13
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
                                                                                                        Confidential

on the one hand, and Ankura, on the other hand, in connection with the matters as to which such Liabilities
or Indemnified Expenses relate, as well as any other relevant equitable considerations. Notwithstanding
the foregoing, in no event shall any Indemnified Persons be required to contribute an aggregate amount in
excess of the amount of fees actually received by Ankura from the Company pursuant to the Agreement.

         Prior to entering into any agreement or arrangement with respect to, or effecting, any (i) merger,
statutory exchange or other business combination or proposed sale, exchange, dividend or other distribution
or liquidation of all or a significant portion of its assets, or (ii) significant recapitalization or reclassification
of its outstanding securities that does not directly or indirectly provide for the assumption of the obligations
of the Company set forth in this Agreement, the Company will notify Ankura in writing thereof, if not
previously so notified, and shall arrange in connection therewith alternative means of providing for the
obligations of the Company set forth in this Agreement, including the assumption of such obligations by
another party, insurance, surety bonds, the creation of an escrow, or other credit support arrangements, in
each case in an amount and upon terms and conditions reasonably satisfactory to Ankura.

        These indemnification, contribution and other provisions of this Schedule I shall (i) remain
operative and in full force and effect regardless of any termination of the Agreement or completion of the
engagement by Ankura; (ii) inure to the benefit of any successors, assigns, heirs or personal representative
of any Indemnified Person; and (iii) be in addition to any other rights that any Indemnified Person may
have.




                                                                                                         14
DOCS_DE:244276.3 03703/004
DOCS_DE:244276.3
